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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                     : CRIMINAL ACTION
                                              :
                     v.                       : NO. 07-205-2
                                              :
 HOWARD WILLIS                                :
 #62299-066

                                           ORDER
       AND NOW, this 19th day of October 2020, upon considering the Defendant’s consent

Motion for reduction of sentence (ECF Doc. No. 121), and having independently analyzed the

grounds for reduction of sentence in the accompanying Memorandum, it is ORDERED the

Defendant’s consent Motion (ECF Doc. No. 121) is GRANTED and the term of imprisonment is

today reduced to time served followed by the five years of supervised release consistent with the

Judgment Order (ECF Doc. No. 68).



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                                                    KEARNEY, J.
